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                                      CASE #: 20-2-05646-4 SEA
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                   SUPERIOR COURT FOR THE STATE OF WASHINGTON
7                         IN AND FOR THE COUNTY OF KING
8     AGATA DROZDZ, an individual, and
      TEAKRE VEST, an individual                  No.
9
                                 Plaintiffs,      CLASS ACTION
10
            v.                                    COMPLAINT FOR VIOLATION OF
11                                                CONSUMER PROTECTION ACT
12    UNITED SERVICES AUTOMOBILE
      ASSOCIATION and USAA CASUALTY
13    INSURANCE COMPANY,
14                               Defendants.
15                                  I.         INTRODUCTION
16         Plaintiffs Agata Drozdz and Teakre Vest, individually and on behalf of all
17   members of the Class of similarly situated insureds, allege the following complaint and
18   causes of action against Defendants USAA and USAA Casualty Insurance Company
19   (“Defendants” or “USAA”).
20                                       II.     PARTIES
21         1.     Plaintiff Agata Drozdz is a Washington resident. Ms. Drozdz was injured
22   in an automobile accident occurring on January 10, 2017 in Seattle, Washington.
23   Ms. Drozdz resides in Federal Way, Washington.
24         2.     Plaintiff Teakre Vest is a former Washington resident. Ms. Vest was
25   injured in an automobile accident occurring on December 14, 2014 in Seattle,
26   Washington. Ms. Vest currently resides in San Diego, California.
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1           3.     Defendants United Services Automobile Association and USAA Casualty

2    Insurance Company are foreign insurance companies that are licensed to do business

3    in Washington and did business in Washington and King County during the time period

4    at issue. As used herein, “USAA” refers to the Defendant corporations, United

5    Services Automobile Association and USAA Casualty Insurance Company. USAA has

6    sold and/or underwritten automobile insurance policies in Washington that provided

7    Personal Injury Protection (“PIP”) coverage requiring the payment of “all reasonable

8    and necessary” medical expenses incurred by a covered person arising from a covered

9    accident within the meaning of the PIP statute, RCW 48.22.

10                              III.   JURISDICTION AND VENUE

11          4.     This Court has jurisdiction pursuant to RCW 2.08.010 and

12   RCW 4.28.185.

13          5.     During the time period at issue, USAA did and continues to do substantial

14   business within King County, Washington.

15          6.     Pursuant to RCW 4.12.025 and RCW 4.12.020, venue is proper in the

16   King County Superior Court.

17                               IV.    FACTUAL ALLEGATIONS

18   A.    Plaintiff Drozdz’s individual factual allegations
19          7.     On January 10, 2017, Plaintiff Drozdz was traveling on S Seattle

20   Boulevard and stopped at a red light. A vehicle traveling to the right of Plaintiff Drozdz

21   collided with Plaintiff Drozdz’s rear passenger side when it unlawfully entered Plaintiff

22   Drozdz’s lane of travel.

23          8.     Plaintiff suffered injuries as a result of the accident.

24          9.     At the time, Ms. Drozdz was insured by USAA through an automobile

25   policy that contained PIP coverage.

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1           10.     The PIP coverage required payment of reasonable and necessary

2    medical expenses.

3           11.     Under the PIP statute, PIP coverage requires payment of “all reasonable

4    and necessary” medical expenses. See RCW 48.22.005(7).

5           12.     Under insurance regulations, WAC 284-30-330 et seq, insurers are

6    required to adopt and implement reasonable procedures for investigating PIP

7    insurance claims before refusing to pay them in full.

8           13.     Under insurance regulations, WAC 284-30-330 et seq, insurers are

9    prohibited from misrepresenting facts relating to coverage and payment on a PIP claim.

10          14.     Under insurance regulations, WAC 284-30-395, insurers are prohibited

11   from denying, limiting, or terminating an insureds’ medical expense unless the insurer

12   has determined that the expenses are not reasonable, are not necessary, are not

13   related to the accident, or are not incurred within three years of the automobile

14   accident.

15          15.     Plaintiff Drozdz sought and received medical treatment for her injuries.

16          16.     The medical treatment Ms. Drozdz received was causally related to her

17   injuries.

18          17.     The medical treatment Ms. Drozdz received was reasonable and
19   necessary.

20          18.     As a result of receiving medical treatment and services for her injuries,

21   Ms. Drozdz incurred medical expenses.

22          19.     USAA directs its insureds to have their providers bill USAA for treatment

23   and/or directed the insureds’ providers to bill USAA directly rather than the patient or

24   insured billing USAA.

25          20.     Ms. Drozdz’s providers submitted bills for medical expenses incurred by

26   her to USAA.
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1           21.    USAA refused to pay the medical expense bills in full submitted by Ms.

2    Drozdz’s providers.

3           22.    USAA refused to pay the medical expense bills in full even though the

4    bills submitted were reasonable and necessary medical expenses.

5           23.    USAA refused to pay the medical bills in full even though Ms. Drozdz had

6    benefits under her policy that had not been exhausted at the time the bills were

7    submitted.

8           24.    USAA refused to pay the medical bills before making a determination

9    regarding the reasonableness of the bills and/or necessity of treatment.

10          25.    For instance, on bills sent to USAA by Ms. Drozdz’s providers, USAA

11   sent those providers an Explanation of Reimbursement (“EOR”).

12          26.    The EOR identified the service provider’s name and billing address, the

13   billing provider’s name and billing address, the patient, the date of service, the CPT

14   number for the treatment service billed, a description of the treatment service, the units

15   of treatment being billed, the billed amount, and the “REIM AMOUNT” for the

16   reimbursement amount.”

17          27.    On some EORs, the computer system put “0” in the REIM AMOUNT on

18   the draft EOR based on a “PR” or “DOC” reason code for certain lines on the bill
19   reflecting specific CPT treatment procedures being billed. The USAA adjuster

20   assigned to the claim created a final EOR that had “0” in the REIM AMOUNT column

21   for bill lines containing PR or DOC reason codes and then sent the provider an amount

22   that was less than the total amount billed on all bill lines for all treatment procedures

23   because it excluded any payment for the bill lines with the PR or DOC reason code.

24          28.    USAA effectively denied payment of the provider’s bill for those specific

25   treatment procedures by putting “0” in the REIM AMOUNT column on the EOR and

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1    sending the provider a reduced payment that excluded any payment for those

2    treatment procedures.

3          29.    On the EOR, a “PR” reason code is defined in the notes section of the

4    EOR to mean that the “documentation” submitted did not substantiate the necessity of

5    the treatment. For example, the EORs refusing to pay Ms. Drozdz’s medical treatment

6    providers in full stated that the “documentation does not substantiate the medical

7    necessity of the physical therapy provided.”

8          30.    These EORs contain a “PR” reason code, for instance PR49 and/or

9    PR 172.

10         31.    On other EORs where USAA refused to pay Ms. Drozdz’s medical

11   treatment providers in full, the EORs state that “documentation is needed to support

12   the medical necessity for continued care or treatment.”

13         32.    These EORs contain a “DOC” reason code, for instance DOC55.

14         33.    However, the statements made on the EORs containing “PR” and “DOC”

15   reason codes are false and are not statements reflecting any decision or determination

16   that the treatment itself was unnecessary.

17         34.    In fact, USAA made the decision to deny paying the bill prior to evaluating

18   the bill for whether the provider’s fee was reasonable for his/her treatment services and
19   prior to determining that the treatment was not necessary.

20         35.    For example, prior to denying the bill, USAA did not know or investigate

21   the identity, background, credentials experience, or any other personal characteristic of

22   the provider treating Ms. Drozdz or those of others in the area to determine if the

23   amount billed was reasonable.

24         36.    Prior to denying the bill, USAA did not contact or communicate with the

25   provider to discuss Ms. Drozdz’s treatment.

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1           37.    Prior to denying the bill, USAA did not contact or communicate with the

2    provider regarding whether additional information was necessary to evaluate the bill.

3           38.    Prior to denying the bill, USAA did not contact or communicate with the

4    provider to identify specific information that was necessary to evaluate the bill.

5           39.    Prior to denying the bill, USAA did not contact or communicate with its

6    insured regarding whether additional information was necessary to evaluate the bill.

7           40.    Prior to denying the bill, USAA did not contact or communicate with its

8    insured to identify specific information that was necessary to evaluate the bill.

9           41.    Prior to denying payment, USAA did not conduct any examination of the

10   patient.

11          42.    In denying payment on these bills, USAA relied on a computer program

12   that automatically flags certain bills for denial.

13          43.    These flags include arbitrarily and automatically denying bills, for

14   instance, where there is a 90-day gap in treatment, more than 90 days have elapsed

15   since the accident, or when the insured has exceeded 13 treatments for certain CPT

16   procedures.

17          44.    These limitations are not found in the PIP statute.

18          45.    USAA refused to pay these bills even though Ms. Drozdz’s providers
19   determined that the treatments were reasonable and necessary.

20          46.    USAA did not make a determination regarding the reasonableness of the

21   bills or the medical necessity of treatment before denying them.

22          47.    USAA failed to inform insureds and providers in advance whether

23   medical treatments were covered, leaving its insureds in the position of not knowing if

24   the treatment is covered or how much will be paid.

25          48.    USAA’s practices proximately caused Ms. Drozdz to sustain injury and

26   economic damages.
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     B.     Plaintiff Teakre Vest’s individual factual allegations
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                49.   On December 14, 2014, Plaintiff Vest was traveling northbound on I-5
2
     near downtown Seattle. Plaintiff Vest was a front seat passenger in her vehicle being
3
     driven by USAA insured, Andrew J. Searles. Plaintiff Vest’s vehicle was rear-ended at
4
     a high rate of speed when the vehicle traveling behind her failed to stop for slowing
5
     traffic.
6
                50.   Plaintiff suffered serious, permanent injuries as a result of the accident.
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                51.   At the time, Ms. Vest was insured by USAA through an automobile policy
8
     that contained PIP coverage.
9
                52.   The PIP coverage required payment of reasonable and necessary
10
     medical expenses.
11
                53.   Under the PIP statute, PIP coverage requires payment of “all reasonable
12
     and necessary” medical expenses. See RCW 48.22.005(7).
13
                54.   Under insurance regulations, WAC 284-30-330 et seq, insurers are
14
     required to adopt and implement reasonable procedures for investigating PIP
15
     insurance claims before refusing to pay them in full.
16
                55.   Under insurance regulations, WAC 284-30-330 et seq, insurers are
17
     prohibited from misrepresenting facts relating to coverage and payment on a PIP claim.
18
                56.   Under insurance regulations, WAC 284-30-395, insurers are prohibited
19
     from denying, limiting, or terminating an insureds’ medical expense unless the insurer
20
     has determined that the expenses are not reasonable, are not necessary, are not
21
     related to the accident, or are not incurred within three years of the automobile
22
     accident.
23
                57.   Plaintiff Vest sought and received medical treatment for her injuries.
24
                58.   The medical treatment Ms. Vest received was causally related to her
25
     injuries.
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1           59.    The medical treatment Ms. Vest received was reasonable and necessary.

2           60.    As a result of receiving medical treatment and services for her injuries,

3    Ms. Vest incurred medical expenses.

4           61.    USAA directs its insureds to have their providers bill USAA for treatment

5    and/or directed the insureds’ providers to bill USAA directly rather than the patient or

6    insured billing USAA.

7           62.    Ms. Vest’s providers submitted bills for medical expenses incurred by her

8    to USAA.

9           63.    USAA refused to pay the medical expense bills in full submitted by Ms.

10   Vest’s providers.

11          64.    USAA refused to pay the medical expense bills in full even though the

12   bills submitted were reasonable and necessary medical expenses.

13          65.    USAA refused to pay the medical bills in full even though Ms. Vest had

14   benefits under her policy that had not been exhausted at the time the bills were

15   submitted.

16          66.    USAA refused to pay the medical bills before making a determination

17   regarding the reasonableness of the bills and/or necessity of treatment.

18          67.    For instance, on bills sent to USAA by Ms. Vest’s providers, USAA sent
19   those providers an Explanation of Reimbursement (“EOR”).

20          68.    The EOR identified the service provider’s name and billing address, the

21   billing provider’s name and billing address, the patient, the date of service, the CPT

22   number for the treatment service billed, a description of the treatment service, the units

23   of treatment being billed, the billed amount, and the “REIM AMOUNT” for the

24   reimbursement amount.”

25          69.    On some EORs, the computer system put “0” in the REIM AMOUNT on

26   the draft EOR based on a “PR” or “SR” reason code for certain lines on the bill
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1    reflecting specific CPT treatment procedures being billed. The USAA adjuster

2    assigned to the claim created a final EOR that had a “0” in the REIM AMOUNT column

3    for bill lines containing PR or DOC reason codes and then sent the provider an amount

4    that was less than the total amount billed on all bill lines for all treatment procedures

5    because it excluded any payment for the bill lines with the DOC or PR reason codes.

6             70.   USAA effectively denied payment of the provider’s bill for those specific

7    treatment procedures by putting “0” in the REIM AMOUNT column on the EOR and

8    sending the provider a reduced payment that excluded any payment for those

9    treatment procedures.

10            71.   On the EOR, a “PR” reason code is defined in the notes section of the

11   EOR to mean that the “documentation” submitted did not substantiate the necessity of

12   the treatment. For example, the EORs refusing to pay Ms. Vest’s medical treatment

13   providers in full stated that the “documentation does not substantiate the medical

14   necessity of the physical therapy provided” or that the “documentation does not

15   substantiate that the treatment provided is medically necessary and/or related to the

16   loss.”

17            72.   On the EOR, a “SR” reason code is defined in the notes section of the

18   EOR to mean that a prior review of the documentation submitted did not substantiate
19   the need for the treatment. For example, the EORs refusing to pay Ms. Vest’s medical

20   treatment providers in full stated that the “documentation did not substantiate the need

21   for the neuromuscular reduction therapy.”

22            73.   These EORs contain a “PR” reason code, for instance PR 48, and/or

23   PR 49, and/or PR 172, or a “SR” reason code, for instance SR08.

24            74.   However, the statements made on the EORs containing “PR” and “SR”

25   reason codes are false and are not statements reflecting any decision or determination

26   that the treatment itself was unnecessary.
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1           75.    In fact, USAA made the decision to deny paying the bill prior to evaluating

2    the bill for whether the provider’s fee was reasonable for his/her treatment services and

3    prior to determining that the treatment was not necessary.

4           76.    For example, prior to denying the bill, USA did not know or investigate the

5    identity, background, credentials experience, or any other personal characteristic of the

6    provider treating Ms. Vest or those of others in the area to determine if the amount

7    billed was reasonable.

8           77.    Prior to denying the bill, USAA did not contact or communicate with the

9    provider to discuss Ms. Vest’s treatment.

10          78.    Prior to denying the bill, USAA did not contact or communicate with the

11   provider regarding whether additional information was necessary to evaluate the bill.

12          79.    Prior to denying the bill, USAA did not contact or communicate with the

13   provider to identify specific information that was necessary to evaluate the bill.

14          80.    Prior to denying the bill, USAA did not contact or communicate with its

15   insured regarding whether additional information was necessary to evaluate the bill.

16          81.    Prior to denying the bill, USAA did not contact or communicate with its

17   insured to identify specific information that was necessary to evaluate the bill.

18          82.    Prior to denying payment, USAA did not conduct any examination of the
19   patient.

20          83.    In denying payment on these bills, USAA relied on a computer program

21   that automatically flags certain bills for denial.

22          84.    These flags include arbitrarily and automatically denying bills, for

23   instance, where there is a 90-day gap in treatment, more than 90 days have elapsed

24   since the accident, or when the insured has exceeded 13 treatments for certain CPT

25   procedures.

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1           85.     These limitations are not found in the PIP statute.

2           86.     USAA refused to pay these bills even though Ms. Vest’s providers

3    determined that the treatments were reasonable and necessary.

4           87.     USAA did not make a determination regarding the reasonableness of the

5    bills or the medical necessity of treatment before denying them.

6           88.     On other EORs where USAA refused to pay Ms. Vest’s medical treatment

7    providers in full, the EORs state that “the service provider participates in a PPO

8    network and has agreed to accept as payment in full the reimbursement amount listed

9    in this line for the service listed[.]”

10          89.     These EORs contain a “PPO” reason code.

11          90.     USAA made the decision to deny these bills even though USAA does not

12   have a contract with the provider to pay the provider at a PPO rate.

13          91.     USAA made the decision to deny these bills even though USAA does not

14   independently investigate whether the provider entered into an agreement with any

15   other party to pay the provider at a PPO rate.

16          92.     In denying payment on these bills, USAA relied on a computer program

17   that automatically flags certain bills for denial.

18          93.     These flags include arbitrarily and automatically denying bills when a
19   computer program alleges that the provider has agreed to accept a PPO rate.

20          94.     USAA refused to pay these bills even though Ms. Vest’s treatment

21   providers determined that the treatments were reasonable and necessary.

22          95.     USAA did not make a determination regarding the reasonableness of the

23   bills or the medical necessity of treatment before denying them.

24          96.     USAA failed to inform insureds and providers in advance whether

25   medical treatments were covered, leaving its insureds in the position of not knowing if

26   the treatment is covered or how much will be paid.
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1          97.    USAA’s practices proximately caused Ms. Vest to sustain injury and

2    economic damages.

3                          V.     PUTATIVE CLASS ALLEGATIONS

4          98.    Plaintiff Drozdz and Plaintiff Vest re-allege each and every allegation as

5    set forth in paragraphs 1 through 97.

6          99.    From at least February 27, 2016 to the present date, more than 1,000

7    Washington insureds submitted reasonable and necessary medical expense bills for

8    payment under a USAA PIP policy and had their payments automatically denied based

9    on a computer algorithm and the resulting PR, SR, DOC, and PPO reason codes. The

10   putative Class consists of residents of multiple counties in Washington and is

11   geographically diverse.

12         100.   The bills submitted for payment to USAA by this putative Class of more

13   than 1,000 Washington insureds and had their payments automatically denied were

14   reasonable and necessary.

15         101.   The billed amounts were the provider’s usual and customary charge for

16   the CPT procedure billed to auto insurers and paid by other auto insurers who did not

17   use the computer program used by USAA.

18         102.   The billed amounts were also the result of the provider’s determination
19   that the treatments provided to the insured were medically necessary.

20         103.   USAA processed and denied the bills of the putative Class of more than

21   1,000 Washington insureds using the same common practices and procedures that

22   were applied to bills submitted by Plaintiffs and denied based on an automated

23   computerized review of bills by AIS.

24         104.   The average denial for each bill line on an EOR averaged less than $100.

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1            105.   The average individual claim of the putative Class of more than 1,000

2    insureds for denials based on an automated computerized review of bills is likely to be

3    small and less than $1,000.

4            106.   Prior to paying insureds’ providers less than the full amount billed, USAA

5    had not entered into a contract with the provider to accept less than the provider’s

6    usual and customary charge for the services billed other auto insurers.

7            107.   USAA had not entered into any contract with the provider to accept less

8    than the market rate for the services provided, defined as the amount a willing patient

9    would pay on the open market for the services.

10           108.   Nor did USAA offer to pay the provider in cash, in full, at the time of

11   service.

12           109.   USAA did not have a practice of offering to pay providers a reduced ‘cash

13   rate’ at the time of service.

14           110.   The amount paid was not based on a fee schedule set by the State of

15   Washington.

16           111.   When USAA denied payments to providers treating the putative Class of

17   insureds, the USAA claims representative or adjustor assigned to the claim did not

18   independently investigate whether the amount billed was reasonable for the provider to
19   charge for the CPT procedure and did not independently investigate whether the

20   treatment was medically necessary.

21           112.   Before USAA denied payments to providers treating the putative Class of

22   insureds, no one at USAA made such an investigation.

23           113.   In denying payment to providers treating the putative Class of more than

24   1,000 Washington insureds, USAA relied on a PR, DOC, SR, or PPO explanation

25   code.

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1           114.   USAA’s practice of relying on an automated computerized review of bills

2    by AIS is a mere sham used by USAA to avoid its affirmative duty to pay all reasonable

3    and necessary medical expense bills submitted and to conduct a reasonable

4    investigation of the PIP claim before denying full payment. The practice is a mere

5    sham because USAA systematically, consistently, and repeatedly underpaid or refused

6    to pay providers and resulted in USAA systematically, consistently, and repeatedly

7    failing to make payments of all reasonable and necessary medical expenses under its

8    PIP policy as required by the Washington PIP statute.

9           115.   USAA’s practice of relying on PR, DOC, SR, or PPO explanation codes

10   as the basis for denying payments to providers is always the same.

11          116.   The total amount in controversy on the claims of the members of the

12   putative Class described in this Complaint is substantially less than $5,000,000.

13          117.   Plaintiffs are members of the Class of more than 1,000 Washington

14   insureds described above.

15   A.    Civil Procedure Rule 23 Allegations
16          118.   Plaintiffs bring this action as a Class Action for damages sustained by

17   Plaintiffs and the putative Class of Washington insureds described above pursuant to

18   Rule 23(a) and (b)(3) of the Washington State Superior Court Civil Rules. Plaintiffs
19   seek to certify the following Class:

20                 All Washington insureds who from February 27, 2016 to the present
21                 date (“Class period”) had their PIP claims for reimbursement of
                   medical expenses reduced or denied by Defendant USAA based on
22                 an Explanation of Reimbursement (“EOR”) form sent to the
                   insured’s provider containing a “PR,” “SR,” “DOC,” or “PPO” reason
23                 code as the explanation.
24          119.   CR 23(a)(1): Class certification is proper under CR 23(a)(1) because the
25   members of the putative Class total more than 1,000 insureds and the insureds are
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1    geographically dispersed over numerous cities and counties in the State of

2    Washington.

3           120.   Because of the number of Class members and their geographic

4    dispersion, individual joinder of each putative Class member is not practicable.

5           121.   CR 23(a)(2): Class certification is proper under CR 23(a)(2) because

6    USAA applied a common practice of denying payments on the bills of all putative Class

7    members of the Class period from September 23, 2015 to the present date. USAA’s

8    practice raises questions of law and fact common to all members of the Class

9    including:

10                 a. Whether USAA’s practice of denying payments to Class member bills

11                   was based on an automated computer review to limit payments on

12                   Washington PIP claims.

13                 b. Whether USAA relied on an automated and arbitrary computerized bill

14                   review by a third-party, Auto Injury Solutions (“AIS”).

15                 c. Whether the AIS computer program generated an EOR stating that the

16                   billed amount would not be paid based on a “PR,” “SR,” “DOC,” or

17                   “PPO” reason code.

18                 d. Whether USAA’s practice of having AIS do automated computerized
19                   reviews and denials based on “PR,” “SR,” “DOC,” or “PPO” reason

20                   codes added on the EOR as an additional term or condition for

21                   payment that the billed amount be less than, or the treatment

22                   procedure comply with, what is arbitrarily set by the computer program.

23                 e. Whether it was USAA’s practice when denying bills to rely on the

24                   “REIM AMOUNT” and reason codes set forth by AIS’s computer

25                   program in a draft EOR and to not have USAA adjustors or

26                   representatives independently investigate if the full amount billed by
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1                 the provider was reasonable in the provider’s specific location or

2                 medical market and given the provider’s background, experience, and

3                 individual characteristics or if the treatment was necessary based on

4                 the individual circumstances of the insured.

5               f. Whether USAA’s practice of having AIS’s computer program do

6                 automated denials of provider bills violated the requirement in the PIP

7                 statute, RCW 48.22.005(7), because the practice resulted in USAA

8                 systematically, consistently, and repeatedly failing to make payments

9                 for all reasonable and necessary medical expenses submitted on a PIP

10                claim.

11              g. Whether USAA’s practice of having AIS’s computer program do

12                automated denials of provider bills violated the requirement in WAC

13                §284-30-330 et seq. that insurers adopt and implement reasonable

14                procedures for investigating PIP insurance claims before denying full

15                payment to insured’s providers because the practice resulted in USAA

16                systematically, consistently, and repeatedly using a procedure that

17                does not determine the reasonableness or necessity of provider fees.

18              h. Whether USAA’s practice of having AIS’s computer program do
19                automated denials of provider bills violated the requirement in WAC

20                §284-30-330 et seq. that insurers conduct a reasonable investigation

21                of a PIP insurance claim for payment of reasonable and necessary

22                medical expenses before sending an insured’s provider a denial

23                because the practice resulted in USAA systematically, consistently,

24                and repeatedly using a procedure that does not determine the

25                reasonableness or necessity of provider fees and resulted in USAA

26                systematically, consistently, and repeatedly failing to make payments
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1                 for all reasonable and necessary medical expenses submitted on PIP

2                 claims.

3               i. Whether USAA’s practice of having AIS’s computer program do

4                 automated denials of provider bills prior to making a determination

5                 about the bill’s reasonableness or the treatment’s necessity violated

6                 the requirement in WAC §284-30-395 et seq. prohibiting insurers from

7                 denying or limiting insureds’ medical expenses prior to making a

8                 determination of reasonableness and necessity.

9               j. Whether USAA’s practice of having AIS’s computer program do

10                automated denials of provider bills constituted an unfair practice that

11                violates the Consumer Protection Act, Chapter 19.86 RCW.

12              k. Whether USAA’s practice was unfair under the standards adopted by

13                Washington courts, including whether the practice was unfair because

14                there was no benefit to insureds from USAA’s practice that

15                substantially outweighed the detriment to them and they could not

16                avoid having their bills reduced.

17              l. Whether USAA’s practices were unfair CPA practices in relation to the

18                applicable Washington law and regulations relating to the payment of
19                PIP insurance claims, including RCW 48.22.005(7), WAC 284-30-330,

20                and WAC 284-30-395.

21              m.    Whether Class members sustained injury to their business caused

22                by USAA’s practice in the form of reduced payments, investigative

23                costs, out-of-pocket expenses, loss of the benefit of their premiums, or

24                in some other manner.

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1           122.   CR 23(a)(3): Class certification is proper under CR 23(a)(3) because

2    Plaintiff’s claims are typical of the claims of the members of the putative Class and

3    USAA’s defenses to the claims of Plaintiffs are also typical of the defenses to such

4    claims. The claims and defenses are typical because they arise out of the same

5    common policies and practices which USAA applied to all of the putative Class of more

6    than 1,000 Washington insureds. The claims arise from the same alleged unfair

7    scheme undertaken by USAA to deprive Washington insureds of full benefits under

8    their PIP policies.

9           123.   CR 23(a)(4): Class certification under CR 23(a)(4) because Plaintiffs can

10   fairly and adequately represent the interests of the other members of the Class.

11   Plaintiffs have no interests that are antagonistic to the interests of the putative Class.

12   Plaintiff and the Class have the same interest in seeking full payment of all bills that

13   were improperly denied. Plaintiff retained skilled attorneys who have represented

14   claimants and class members with similar claims to those brought in this lawsuit.

15   Plaintiffs’ counsel have been appointed Class counsel in previous cases involving PIP

16   claims and insurers’ reliance upon computer programs to deny payments to insureds’

17   providers.

18          124.   CR 23(b)(3): Class certification is proper under CR 23(b)(3) because the
19   questions of law and fact or common to the Class, as set forth above predominate over

20   any questions affecting only individual members of the Class. Common questions

21   predominate because USAA undertook a common course of conduct towards all

22   members of the Class of Washington insureds and applied its practices at issue to all

23   bills submitted under its PIP coverage during the Class period.

24          125.   Class certification is proper under CR 23(b)(3) because a class action is

25   a superior method for adjudicating the claims of the members of the Class more than

26   1,000 individual actions in numerous cities and counties of Washington that raise the
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1    identical factual and legal issues concerning USAA’s PIP processing and payment

2    practices.

3             126.   Class certification is a superior method of adjudicating the claims

4    because the individual Class members have little interest in individually controlling the

5    prosecution of their claims. The average amount of the individual claims in controversy

6    is likely to be less than $1,000.

7             127.   The Class members are busy individuals who have limited time to devote

8    to the prosecution of their individual claims.

9             128.   Class certification is a superior method of adjudicating the claims

10   because there is no class litigation already commenced by Washington insureds

11   against USAA raising the identical claims.

12            129.   Class certification is a superior method of adjudicating the claims

13   because it is desirable to concentrate the litigation and claims in a single forum to avoid

14   duplicity of actions and inconsistent adjudications of identical claims. King County is a

15   desirable forum for litigation of the class claims because it is the County in which most

16   class members are located and where the Defendants’ in-state witnesses are likely

17   located. The cost to the court system of the various counties where class members

18   are located would be substantial if the claims were adjudicated on an individualized
19   basis.

20            130.   Class certification is a superior method of adjudicating the claims

21   because there are few difficulties likely to be encountered in the adjudication of the

22   Class members’ legal claims. The King County Superior Court certified a litigation class

23   that alleged similar claims in prior litigation. The common liability issues were tried to a

24   jury on a class basis and a verdict entered.

25            131.   Additionally, or alternatively, Plaintiffs bring this action as a Class Action

26   for injunctive and declaratory relief under Rule 23(b)(2) of the Washington State
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1    Superior Court Civil Rules because USAA has acted or refused to act on grounds

2    generally applicable to the proposed class above, thereby making appropriate final

3    injunctive relief or corresponding declaratory relief with respect to the class as a whole.

4           132.   USAA uses the same process to adjust and pay PIP claims for all

5    members of the proposed class. The process includes the practice of denying,

6    reducing, or delaying payment based on preset flags, criteria, and limitations without

7    conducting an individualized investigation of the reasonableness or necessity of the

8    charged based on available information, including the characteristics of factors specific

9    to the patient, insured, or provider.

10          133.   Pursuant to CR 23(b)(2), Plaintiffs request injunctive and declaratory

11   relief that orders USAA to cease its PIP claims handling practices to bring them into

12   compliance with Washington law and specifically orders USAA to ceases its practices

13   of paying its insureds’ providers less than the amount charged by the provider without

14   first doing an individualized investigation and making an individualized determination

15   that either the amount charged is an unreasonable fee for that provider to charge or

16   that the treatment procedure billed was not necessary to improve the patient’s

17   condition or to maintain the patient’s improved condition from the injuries sustained in a

18   covered accident.
19          134.   Pursuant to CR 23(b)(2), Plaintiffs’ claim for monetary relief is incidental

20   to the injunctive and declaratory relief that they seek. The damages they seek flow

21   directly from liability to the class as a whole on the claims forming the basis of the

22   injunctive and declaratory relief. Moreover, computing the monetary relief is simple

23   and relies entirely on objective facts, without the need for subjective assessments of

24   the circumstances of each member of the class. There is no threat of a due process

25   violation because all damages can be objectively determined. Plaintiffs’ request for

26   declaratory and injunctive relief is more than a basis for monetary relief. The relatively
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1    modest monetary relief sought by Plaintiffs does not dominate their claims for

2    declaratory and injunctive relief.

3                            VI.     PLAINTIFFS’ INDIVIDUAL CLAIMS

4    A.    Violations of the Consumer Protection Act
5           135.    Plaintiff Drozdz and Plaintiff Vest re-allege each and every allegation as

6    set forth in paragraphs 1 through 97.

7           136.    USAA’s practice of denying any and all payments to Plaintiffs’ providers

8    on medical expenses that were reasonable and necessary violated the requirement in

9    the PIP statute, RCW 48.22.005(7) to make payments of “all” reasonable and

10   necessary medical expenses submitted.

11          137.    USAA’s practice of denying any and all payments to Plaintiffs’ providers

12   on medical expenses that were reasonable and necessary violated WAC 284-30-330

13   that required USAA to adopt and implement reasonable procedures for investigating

14   PIP insurance claims before refusing to pay them in full.

15          138.    USAA’s practice of denying any and all payments to Plaintiffs’ providers

16   on medical expenses that were reasonable and necessary violated WAC 284-30-330

17   that required USAA to independently and reasonably investigate a PIP insurance claim

18   before refusing to pay it in full.
19          139.    USAA’s practice of having AIS do automated computerized reviews and

20   denials based on USAA using a 90-day gap in treatment, or 90-day elapse from the

21   accident, or 13th visit flag added an additional term or condition for payment that the

22   billed procedure had to be within a 90-day period after the accident or after the last

23   treatment and/or that there had to be less than 13 treatments.

24          140.    USAA’s practice of falsely claiming the submitted documentation does

25   not “substantiate” the necessity of the treatment or that “documentation is needed” to

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1    support the necessity for continued care violates the requirement in WAC 284-30-330

2    to not misrepresent facts relating to coverage and USAA’s payment of the PIP claim.

3          141.   USAA’s practice of denying payments on PIP bills prior to making a

4    determination that the amount billed was unreasonable or that the treatment was not

5    necessary violates the provision in WAC 284-30-395 prohibiting insurers from denying

6    or limiting insureds’ medical expenses prior to making a determination of

7    reasonableness and necessity.

8          142.   USAA’s practices occurred in the course of its business and commerce.

9          143.   USAA’s practices were part of a generalized course of conduct repeated

10   on thousands of occasions when provider bills were submitted to USAA for payment

11   under its PIP coverage over the pertinent class period.

12         144.   USAAs practice affected the public interest.

13         145.   The business of insurance affects the public interest.

14         146.   As a direct and proximate result of USAA’s wrongful conduct, Plaintiffs

15   suffered injury to their property and damages in an amount to be established at trial.

16         147.   The injury and damages sustained by Plaintiffs include, but are not

17   limited to, reduced payments, investigative costs, out-of-pocket expenses, and loss of

18   the full benefit of their premiums, as result of USAA’s wrongful conduct.
19                                   VII.     CLASS CLAIMS

20   A.    Violation of the Consumer Protection Act
21         148.   Plaintiff Drozdz and Plaintiff Vest re-allege each and every allegation as

22   set forth in paragraphs 1 through 134.

23         149.   USAA’s practice over the Class period of automatically denying payment

24   as set forth in EORs based on reason codes “PR,” “SR,” “DOC,” or “PPO” violated the

25   PIP statute, RCW 48.22.005(7), because the practice resulted in USAA systematically,

26   consistently, and repeatedly failing to make payments for all reasonable and necessary
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1    medical expenses submitted on a PIP claim.

2           150.   USAA’s practice over the Class period of automatically denying payment

3    as set forth in EORs based on reason codes “PR,” “SR,” “DOC,” or “PPO” violated

4    WAC 284-30-330 et seq. that required USAA to adopt and implement reasonable

5    procedures for investigating PIP insurance claims before refusing to pay them in full.

6           151.   USAA’s practice over the Class period of automatically denying payment

7    as set forth in EORs based on reason codes “PR,” “SR,” “DOC,” or “PPO” violated

8    WAC 284-30-330 et seq. that required USAA to independently and reasonably

9    investigate a PIP insurance claim before refusing to pay it in full.

10          152.   USAA’s practice over the Class period of automatically denying payment

11   as set forth in EORs based on reason codes “PR,” “SR,” “DOC,” or “PPO” violated

12   WAC 284-30-395 et seq. that prohibits insurers from denying or limiting insureds’

13   medical expenses prior to making a determination of reasonableness and necessity.

14          153.   USAA’s practice over the Class period of automatically denying payment

15   as set forth in EORs based on reason codes “PR,” “SR,” “DOC,” or “PPO” added an

16   additional term or condition for payment that the billed amount be less than, or the

17   treatment procedure comply with, what is arbitrarily set by the computer.

18          154.   USAA’s practice occurred in the course of its business and commerce.
19          155.   USAA’s practice was part of a generalized course of conduct repeated on

20   thousands of occasions when provider bills were submitted to USAA for payment under

21   its PIP coverage over the pertinent Class period

22          156.   USAA’s practice affected the public interest.

23          157.   The business of insurance affects the public interest. RCW 48.01.030.

24          158.   USAA’s practice occurred in the course of its insurance business and

25   adversely affected more than 1,000 Washington insureds.

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1           159.   USAA’s practices over the Class period from February 27, 2016 to the

2    present date were unfair and in violation of the Consumer Protection Act, Chapter

3    19.86 RCW.

4           160.   There were no benefits to insureds from USAA’s practices. Any benefit

5    to insureds from USAA’s practice was substantially outweighed by the detriments to

6    receiving reduced benefits on PIP claims.

7           161.   USAA’s practices were unfair and in violation of the CPA in relationship to

8    the requirements of the PIP statute, WAC 284-30-330, and WAC 284-30-395.

9           162.   The members of the putative Class of more than 1,000 insureds,

10   including Plaintiffs, sustained injury to their business and property caused by USAA’s

11   practice in the form of reduced benefits, investigative costs, out of pocket expenses,

12   and loss of the full benefit of their premiums.

13          163.   The members of the putative Class of more than 1,000 insureds,

14   including Plaintiffs, sustained damages that were proximately caused by USAA’s

15   practices.

16          164.   USAA is liable to Plaintiffs and the Class for statutory, actual, and treble

17   damages, prejudgment interest, attorney fees, and costs under the CPA, Chapter

18   19.86 RCW.
19          165.   Excluded from damages are bills submitted on PIP claims where the

20   policy limits on the claims were exhausted at the time the bill was submitted for

21   payment to USAA. Damages include bills that were reduced or denied when sufficient

22   policy limits existed on the PIP claim to pay the bill when the bill was submitted to

23   USAA for payment.

24   B.    Declaratory Judgment
25          166.   Plaintiff Drozdz and Plaintiff Vest re-allege each and every allegation as

26   set forth in paragraphs 1 through 132.
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1          167.   A justiciable substantial controversy exists between Plaintiffs and USAA

2    over USAA’s claims handling practice that results in the refusal to promptly pay

3    reasonable and necessary medical expense payments to insureds’ providers on PIP

4    claims without conducting individual investigation as required by the PIP statute,

5    Chapter 48.22 RCW and insurance regulations, WAC 284-30-330 et seq.

6          168.   Plaintiffs have existing and genuine rights or interests concerning the

7    prompt payment of their reasonable and necessary medical expenses by their insurer

8    on PIP claims in Washington.

9          169.   Plaintiffs’ rights or interests in having their reasonable and necessary

10   medical expenses promptly paid are direct and substantial.

11         170.   A determination of this issue by this Court through entry of a final

12   judgment will resolve and extinguish this controversy regarding the legality of USAA’s

13   practice of refusing to promptly pay insureds’ reasonable and necessary medical

14   expenses on PIP claims without conducting an individual investigation.

15         171.   This proceeding is genuinely adversarial in character.

16         172.   This Court has the power to declare the rights, status, and other legal

17   relations of the parties with respect to these issues pursuant to the Declaratory

18   Judgments Act, RCW 7.24.010 et seq.
19         173.   Pursuant to Chapter 7.24 RCW, Plaintiffs request a declaratory judgment

20   on behalf of themselves and the class they seek to represent declaring that it is

21   unlawful for USAA to refuse to promptly pay insureds’ reasonable and necessary

22   medical expenses on PIP claims without conducting an individual investigation.

23                                VIII.   RELIEF REQUESTED

24         174.   WHEREFORE, Plaintiffs and the putative class request that a judgment

25   be entered in their favor against Defendants on their Consumer Protection Act claims

26   and that the Court:
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1            175.   Certify the case as a Class Action under CR 23(a) and 23(b)(3), or in the

2    alternative, under CR 23(a) and 23(b)(2), on behalf of the alleged putative class of

3    insureds;

4            176.   Award actual damages to be established at trial as provided by the

5    Consumer Protection Act (“CPA”), Chapter 19.86 RCW et seq.;

6            177.   Award treble damages as provided by the CPA, Chapter 19.86 RCW et

7    seq.;

8            178.   Award Plaintiffs a reasonable class representative fee in an amount

9    approved by the Court and award reasonable attorney’s fees and costs as provided by

10   the CPA and class action law in amounts approved by the Court;

11           179.   An award against defendants awarding actual, consequential, treble, and

12   all other allowable damages pursuant to RCW 48.30.015;

13           180.   Award Plaintiffs and the Class prejudgment interest at the rate of 12% per

14   annum as provided by the CPA, Chapter 19.86 RCW et seq., or such other rate as

15   provided by law;

16           181.   Award Plaintiffs and the Class, their reasonable litigation expenses,

17   disbursements, and costs of suit;

18           182.   Award Plaintiffs and the Class damages sustained as a result of
19   Defendants’ breach;

20           183.   For an order of disgorgement and/or restitution;

21           184.   Award Plaintiffs and the Class appropriate injunctive and declaratory

22   relief enjoining USAA from continuing its illegal claims handling practices in

23   Washington pursuant to the Declaratory Judgment Act, Chapter 7.24 RCW et seq.; and

24           185.   Equitable relief and such other and further relief as the Court may deem

25   just and proper.

26   [signature block on next page]
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1         DATED: March 5, 2020.

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